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 1                       UNITED STATES DISTRICT COURT
 2
                      SOUTHERN DISTRICT OF CALIFORNIA
 3
 4   UNITED STATES OF AMERICA,                   Case No.:    '22 MJ02931
 5                              Plaintiff,
                                                 COMPLAINT FOR VIOLATION OF
 6
            v.
 7                                               18 U.S.C. § 371 Conspiracy
                                                 18 U.S.C. § 545 Smuggling Goods Into
 8   TIMOFEY VLADIMIROVICH
                                                 the United States (Felony)
     BARNYAK, and DAVID DANILOVICH
 9                                               18 U.S.C. § 2 Aiding and Abetting
     SLOBODENKO
10
                               Defendants.
11
12
13 The undersigned complainant being duly sworn states:
14
15                                       COUNT 1
16
           Beginning on a date unknown but at least as early as January, 2022, and
17
18 continuing up to and including on or about August 11, 2022, within the Southern
19
     District of California, defendants TIMOFEY VLADIMIROVICH BARNYAK and
20
     DAVID DANILOVICH SLOBODENKO, did knowingly and intentionally
21
22 combine, conspire and agree to commit an offense against the laws of the United
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     States, to wit, to knowingly and willfully, with the intent to defraud the United
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     States, smuggle and clandestinely introduce, and attempt to smuggle and
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     clandestinely introduce into the United States, merchandise, which should have been
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 2 invoiced, in violation of Title 18, United States Code, Sections 545 and 2.
 3
               In furtherance of the conspiracy, the following overt acts were
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 5 committed within the Southern District of California:
 6
          1.    On or about August 11, 2022, in San Diego, California, defendants
 7
 8              TIMOFEY       VLADIMIROVICH           BARNYAK          and         DAVID

 9              DANILOVICH SLOBODENKO entered the United States from
10
                Mexico with six hundred bottles of undeclared Mexican pesticides.
11
12 All in violation of Title 18, United States Code, Section 371.
13
14                                         COUNT 2

15             On or about August 11, 2022, within the Southern District of California,
16
     defendants       TIMOFEY      VLADIMIROVICH          BARNYAK,           and    DAVID
17
     DANILOVICH SLOBODENKO did knowingly and willfully, with the intent to
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19 defraud the United States, smuggle and clandestinely introduce, and attempt to
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     smuggle and clandestinely introduce into the United States, merchandise, which
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     should have been invoiced, to wit: Mexican pesticides, that is, six hundred one-liter
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23 bottles of “Taktic” in violation of Title 18, United States Code, Sections 545 and 2.
24
     //
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26 //
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                                                2
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           The complainant states that this complaint is based on the attached Statement
1
2 of Facts incorporated herein by reference.
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4
                                                 ___________________________
5                                                Michael Lesley, Special Agent
6                                                Homeland Security Investigations
7
8
           Sworn and attested to under oath by telephone, in accordance with Federal
9
     Rule of Criminal Procedure 4.1 on August 15, 2022.
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11
                                                 ___________________________
12                                               HON. WILLIAM V. GALLO
13                                               U.S. MAGISTRATE JUDGE

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 1
     United States of America
            v.
 2   Timofey Vladimirovich BARNYAK
 3   David Danilovich SLOBODENKO
 4
                             PROBABLE CAUSE STATEMENT
 5
           I, Special Agent Michael Lesley, declare under penalty of perjury, the
 6

 7   following is true and correct:
 8
           According to CBP reporting, at about 6:32 p.m. on August 11, 2022, David
 9

10   Danilovich SLOBODENKO entered the United States at the San Ysidro POE as
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     the driver and registered owner of a black 2018 Dodge Ram, bearing California
12
     license plates, and towing a white enclosed cargo trailer. Timofey Vladimirovich
13

14   BARNYAK and three females were passengers in the vehicle. The CBP Officer
15
     asked the group where they were going to, and BARNYAK responded that they
16

17
     were returning from hosting a youth camp in Mexico. The CBP Officer noticed the

18   group had several back packs and several plastic bags containing what felt like
19
     beans inside the truck. The CBP Officer asked the group what was inside the
20

21   trailer, and SLOBODENKO responded that it contained only dirty clothing. After
22
     observing several pieces of luggage and the plastic bags containing what felt like
23

24
     beans, the CBP Officer referred the vehicle to Secondary for further inspection.

25         In the secondary lot, a CBP Officer asked the group where they were coming
26
     from, and they responded that they were in Mexico for a church group trip and
27

28   were hauling back all of the gear for the group, while the other group members

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 1
     travelled back in separate vehicles. After determining that the plastic bags from the

 2   truck contained coffee beans, the CBP officers looked in the trailer and saw that it
 3
     contained a variety of bags and suitcases. The CBP Officers advised the group that
 4

 5   they would need to unload the trailer so that the officers could inspect the trailer
 6
     and its contents. During the unloading of the bags and suitcases by the group,
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 8
     cardboard boxes became visible. The cardboard boxes had been stacked in the

 9   center of the trailer such that they were concealed by the bags and suitcases. A
10
     CBP    Officer    asked    SLOBODENKO              what   the   boxes     contained,   and
11

12   SLOBODENKO claimed he did not know, but stated that he was asked by a family
13
     member to pick up the boxes in Mexico and deliver them to the family member in
14
     the United States. CBO Officers determined that the boxes contained bottles of the
15

16   Mexican pesticide “Taktic.” In all, the CBP Officers seized 100 boxes, each
17
     containing 6 one-liter bottles of “Taktic,” for a total of 600 bottles.
18

19         After being advised of his Constitutional rights and waiving his rights in
20
     writing, BARNYAK stated that he is a beekeeper and that Taktic is used by
21
     beekeepers to kill mites. He stated that he was asked to purchase Taktic by people
22

23   in California and Oregon before he travelled to Mexico. He said he purchased the
24
     pesticides from a friend of his in Mexico, and the pesticides cost him $23,000
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26
     (approximately $38.33 per bottle), which he paid in cash. He stated that he
27
     expected to make approximately $13,000 in profit from the sale of the pesticides.
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 1
     BARNYAK stated that he has previously purchased large amounts of pesticides in

 2   Mexico and brought them into the United States three or four times. BARNYAK
 3
     stated that he had told SLOBODENKO that there was medicine for bees in the
 4

 5   trailer, and that SLOBODENKO was present when the trailer was being loaded
 6
     with the boxes of Taktic.
 7

 8
           BARNYAK consented to a search of his cellular phone. I conducted a

 9   preliminary review of BARNYAK’s text messages, and identified a text message
10
     between BARNYAK and his Taktic supplier in Mexico from January 2022. In that
11

12   message, BARNYAK tells his supplier in Mexico that “David” would pick up
13
     pesticides from him (the supplier) in a couple of weeks. Border crossing records
14
     show that David SLOBODENKO crossed north into the United States from
15

16   Mexico on February 5, 2022.
17
           After being advised of his Constitutional rights and waiving his rights in
18

19   writing, SLOBODENKO stated that he saw the boxes being loaded into the trailer
20
     when they were in Mexico. He stated that BARNYAK had told him to allow the
21
     boxes to be placed in the trailer, and that the boxes were for bees.
22

23         According to the label, “Taktic” contains the active ingredient amitraz at an
24
     emulsifiable concentration of 12.5%. U.S. Environmental Protection Agency
25

26
     (EPA) special agents advised that in the United States, amitraz in this form
27
     is a cancelled and unregistered pesticide. In the United States, an emulsifiable
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 1
     concentrate product by the name Taktic with 12.5% active ingredient amitraz was

 2   approved for use as an insecticide and miticide in 1986 and cancelled in
 3
     2014. Similarly, the last ready-to-use product of amitraz was cancelled in 2019.
 4

 5   Amitraz was primarily used for flies and mites on cotton and pear crops;
 6
     livestock ticks, lice, and mange mites on beef and dairy cattle and swine; ticks on
 7

 8
     dogs; and parasitic mites on honeybees. In humans, amitraz poses oral and

 9   inhalation risks, as well as a possible cancer and neurotoxicity risks.
10
           Federal law prohibits the distribution and sale of canceled or unregistered
11

12   pesticides. 7 U.S.C. §136j(a)(1)(A). Only pesticides registered with the EPA may
13
     be imported or sold in the United States. 7 U.S.C. §136o(c). All pesticides
14
     intended for use in the United States must bear their EPA registration number on
15

16   their labels, preceded by the phrase “EPA Registration No.” or “EPA Reg. No.” 40
17
     C.F.R. §156.10(e). In addition, all required information on a label must appear in
18

19   the English language. 40 C.F.R. §156.10(a)(3). The bottles of pesticides found
20
     with BARNYAK and SLOBODENKO were labeled only in Spanish and bore no
21
     EPA registration numbers.
22

23         The lawful importation of pesticides into the United States requires a Notice
24
     of Arrival to be provided to U.S. Customs, pursuant to 19 CFR 12.112.
25

26
     BARNYAK and SLOBODENKO provided no such Notice of Arrival for the
27
     pesticides in this case.
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 1
               BARNYAK        was    served     with   a   Notice   to   Appear   on

 2   August 17, 2022, on the charge of Smuggling, in violation of 18 USC § 545.
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